   Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21   Page 1 of 25 PageID 9

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

EDDIE BELL                       §
                                 §
                                 §
vs.                              §                        C.A. NO.: 3:21-cv-1070
                                 §
ADAM HENSON, NEW PRIME, INC. AND §
SUCCESS LEASING, INC.            §

                        INDEX OF STATE COURT DOCUMENTS

     TAB                              DOCUMENT                    DATE
      1         Plaintiff’s Original Petition                   03/26/2021
      2         Citation issued to Adam Henson                  03/26/2021
      3         Citation issued to New Prime, Inc.              03/26/2021
      4         Jury Demand                                     03/26/2021
      5         Defendants’ Original Answer                     05/06/2021
      6         State Court’s Docket Sheet




LIST OF STATE COURT DOCUMENTS – Solo Page
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

EDDIE BELL                       §
                                 §
                                 §
vs.                              §                        C.A. NO.: 3:21-cv-1070
                                 §
ADAM HENSON, NEW PRIME, INC. AND §
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      5         Defendants’ Original Answer                     05/06/2021




LIST OF STATE COURT DOCUMENTS – Solo Page
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              Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                         Page 3 of 25 PageID 11          DISRICT CLERK
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                                                                                                                             DEPUTY
                                                                                                              Christi Undewvood


                                                                  DC-21 -0391 2
                                           CAUSE No.
             EDDIE BELL;                                                          IN   THE DISTRICT COURT OF




                                                                  WWWWWWWWWW
                     Plaintiff,

            VS.                                                                        DALLAS COUNTY, TEXAS
            ADAM HENSON; NEW PRIME, INC;                                           68th
            AND SUCCESS LEASING, INC.;

                     Defendants.                                                   _        JUDICIAL DISTRICT

                                          PLAINTIFF'S ORIGINAL PETITION

                        Plaintiff Eddie Bell les   Plaintiff‘s Original Petition complaining of

                  Defendants Adam Henson, New Prime, Inc., and Success Leasing, Inc.

                                           I.   DISCOVERY CONTROL PLAN

                        Discovery is intended to be conducted under Level 3 pursuant to Rule 190

               of the TEXAS RULES 0F CIVIL PROCEDURE.

                                     ll. RULE 47 PLEADING REQUIREMENTS

                        As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff's

                  counsel states that the damages sought are in an amount within the

                  jurisdictional limits of this Court. As required by Rule 47(c), Texas Rules of Civil

                  Procedure, Plaintiff's counsel states that Plaintiff seeks monetary relief of over

                  $250,000 but not more than $1 ,000,000. The amount of monetary relief actually

                  awarded, however, will ultimately be determined by a jury. Plaintiff also seeks

                  pre-judgment and post-judgment interest at the highest legal rate.




                                                                                                      TAB 1

                  PLAINTIFF'S ORIGINAL PETITION    —
                                                       Page   1
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                                      Ill.   PARTIES

        Plaintiff Eddie Bell is an individual resident of Arlington, Tarrant County,

Texas. His driver’s license number is        *****002 and his social   security number is

***_**_*1 65.


        Defendant Adam Henson is an individual resident of Monett, Barry

County, Missouri and may be served with process at 107C Chestnut Street,

Monett, Missouri 65708.

        Defendantw                     is a corporation doing business in Springeld,

Greene County, Missouri and may be served with process by serving its

registered agent Incorp Services, Inc. at 815 Brazos, #500, Austin, Texas 78701.

        Defendant SuccessLeasingJnc. is a corporation doing business in

Springfield, Greene County, Texas and may be served with process by serving

its registered agent   Steve Crawford at 2740 North Mayfair Avenue, Springeld,

Missouri 65803.

                          IV. JURISDICTION AND VENUE

        The Court has jurisdiction over the controversy because the damages are

within the jurisdictional limits of this Honorable Court.

        This Court has venue over the parties to this action since the incident

complained of herein occurred in Dallas County, Texas. Venue therefore is

proper in Dallas County, Texas pursuant to the TEXAs CIVIL PRACTICE & REMEDIES

CODE §15.002.




PLAINTIFF'S ORIGINAL PETITION    —
                                     Page 2
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                                        V. FACTS

       This lawsuit arises out of a motor vehicle collision that occurred on or

about Monday, January 4, 2021 at or near the intersection of Bonnie View Road

and Lyndon B. Johnson (lH-20) service road within the city limits of Dallas, Dallas

County, Texas. Plaintiff Eddie Bell was a passenger in a vehicle traveling

westbound on the Lyndon B. Johnson service road attempting to make a left turn

onto to Bonnie View Road. Defendant Adam Henson was operating his 18-

wheeler northbound on Bonnie View Road. Defendant Adam Henson was                 in   the

course and scope of his employment with and operating under the Federal Motor

Carrier authority of Defendant New Prime, Inc. Defendant Adam Henson had a

red light at the intersection of Bonnie View Road and Lyndon B. Johnson (lH-20)

service road. As Plaintiff’s vehicle entered the intersection with the right-of-way,

Defendant Adam Henson failed to stop at the red light and collided hard into the

driver's side of Plaintiff's vehicle. As a result of the collision, Plaintiff was injured

and continues to suffer injuries and damages from this incident.

                              VI. CAUSES OF ACTION

A.     NEGLIGENCE — DEFENDANT ADAM HENSON

       At the time of the motor vehicle collision, Defendant Adam Henson was

operating his 18-wheeler negligently. Specifically, Defendant had a duty to

exercise ordinary care and operate his 18-wheeler reasonably and prudently.

Defendant breached that duty in one or more of the following respects:

       1.      Defendant failed to keep such proper lookout and attention to the
               roadway as a person or ordinary prudence would have kept under
               the same or similar circumstances;




PLAINTIFF'S ORIGINAL PETITION     —
                                      Page 3
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      2.       Defendant failed to stop at a red light in violation of Texas
               Transportation Code Section 544.007;

      3.       Defendant failed to yield the right-of-way in violation of Texas
               Transportation Code Section 545.151;

      4.       Defendant entered the intersection when    it   was unsafe to do so;

      5.       Defendant failed to keep an assured safe distance from Plaintiff's
               vehicle;

      6.       Defendant failed to timely apply the brakes of his 18-wheeler in
               order to avoid the collision in question;

      7.       Defendant failed to safely operate his 18-wheeler; and

      8.       Defendant failed to have or apply all of his mental faculties because
               he was distracted by cell phone and/or GPS usage.

B.    NEGLIGENCE PER SE — DEFENDANT ADAM HENSON

      Defendant Adam Henson’s conduct described herein constitutes an

unexcused breach of duty imposed by Texas Transportation Codes 544.007 and

545.151. Plaintiff was a member of the class that Texas Transportation Codes

544.007 and 545.151 were designed to protect. Defendant’s unexcused breach

of the duty imposed by Texas Transportation Codes 544.007 and 545.151

proximately caused damages described herein.

C.    GROSS NEGLIGENCE — DEFENDANT ADAM HENSON
       In   addition to actual damages, Plaintiff seeks to recover exemplary or

punitive damages from Defendant, because Defendant’s conduct was of such

character as to constitute gross negligence. Defendant’s actions in connection with

the collision involved an extreme degree of risk, considering the probability and

magnitude of the potential harm to Plaintiff and to other users of the public



PLAINTIFF'S ORIGINAL PETITION    —
                                     Page 4
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roadways. Defendant had actual, subjective knowledge of the risk involved, but

nevertheless acted     in   conscious indifference to the rights, safety, and welfare of

others, including the Plaintiff, when he chose to use his cell phone and/or was

distracted by his   GPS at the time of the collision.

D.     NEGLIGENT ENTRUSTMENT — DEFENDANT NEW PRIME, INC.
       AND/OR SUCCESS LEASING, INC.

       As an additional cause of action, Plaintiff would show that at the time and

on the occasion in question, Defendant New Prime, Inc. and/or Defendant

Success Leasing, Inc. was the owner of the vehicle driven by Defendant Adam

Henson. Defendant New Prime, Inc. and/or Defendant Success Leasing, Inc.

entrusted the vehicle to Defendant Adam Henson. Defendant Adam Henson was

unlicensed, incompetent, and/or reckless and Defendant New Prime, Inc. knew

or should have known that Defendant Adam Henson was unlicensed,

incompetent, and/or reckless. Defendant Adam Henson's negligence on the

occasion in question proximately caused the collision.

E.     RESPONDEAT SUPERIOR — DEFENDANT NEW PRIME, INC.

       Additionally, Plaintiff would show that at the time and on the occasion

complained of, Defendant Adam Henson was in the course and scope of his

employment with Defendant New Prime, Inc. thereby making Defendant New

Prime, Inc. liable under the doctrine of Respondeat Superior.

F.     NEGLIGENCE — DEFENDANT NEW PRIME, INC.

       Defendant New Prime, Inc. negligently hired and retained Defendant

Adam Henson. Moreover, Defendant New Prime, Inc. failed to properly qualify,




PLAINTIFF'S ORIGINAL PETITION       —
                                        Page 5
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train and/or supervise Defendant Adam Henson in order to prevent such

collision.

G.      GROSS NEGLIGENCE — DEFENDANT NEW PRIME, INC.

        In   addition to actual damages, Plaintiff seeks to recover exemplary or

punitive damages from Defendant New Prime, |nc., because Defendant’s

conduct was of such character as to constitute gross negligence. Defendant New

Prime, |nc.’s actions in connection with the collision involved an extreme degree

of risk, considering the probability and magnitude of the potential harm to Plaintiff

and to other users of the public roadways. Defendant New Prime, Inc. had

actual, subjective knowledge of the risk involved, but nevertheless acted in

conscious indifference to the rights, safety, and welfare of others, including the

Plaintiff, when Defendant New Prime, Inc. chose to allow Defendant Adam

Henson to operate a vehicle under Defendant New Prime, |nc.’s motor carrier

authority on public roadways at the time of the collision.

        Each of the above and foregoing acts and omissions, singularly or         in


combination, constituted the negligence that was the proximate cause of the

motor vehicle collision and consequently the injuries and damages of Plaintiff.

                                       VII. DAMAGES

       As a proximate result of Defendants' negligence, Plaintiff suffered

extensive injuries and damages. As a result of Plaintiff's injuries, Plaintiff suffered

the following damages:

        a.       Medical expenses in the past and future;

        b.       Lost wages   in the   past and loss of earning capacity in the future;




PLAINTIFF'S ORIGINAL PETITION      —
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        c.     Physical pain and suffering in the past and future;

        d.     Mental anguish in the past and future; and

        e.     Physical impairment     in the   past and future.

              VIII. INTENT TO USE DEFENDANTS' DOCUMENTS

        Plaintiff hereby gives notice of intent to utilize items produced in discovery

against the party producing same. The authenticity of such items is self-proven

per   TRCP 193.7.
                                        IX.   JURY TRIAL
        Plaintiff demands a trial by jury and includes the appropriate jury fees.

                               X. U.S. LIFE TABLES

        Notice is hereby given to the Defendants that Plaintiff intends to use the

U.S. Life Tables as prepared by the Department of Health and Human Services.

                                       XI. RELIEF

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that
Defendants be cited to appear and answer herein, and that upon final hearing

thereof, Plaintiff recover judgment against Defendants for:

        1.     Plaintiff's past medical expenses, which are reasonable and
               customary for the medical care received by Plaintiff;

        2.     Plaintiff's future medical expenses;

        3.     Plaintiff's lost wages in the past and loss of earning capacity in the
               future;

        4.     Plaintiff's physical pain and suffering in the past and future in an
               amount to be determined by the jury;

        5.     Plaintiff's mental anguish in the past and future in an amount to be
               determined by the jury;




PLAINTIFF'S ORIGINAL PETITION    —
                                     Page 7
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       6.     Plaintiff's physical impairment in the past and future in an amount to
              be determined by the jury;

       7.     Interest on the judgment at the legal rate from the date of judgment;

       8.     Pre-judgment interest on Plaintiff's damages as allowed by law;

       9.    All costs of court; and

       10.    Such other and further relief to which Plaintiff may be justly entitled.

                                      Respectfully submitted,

                                      WITHERITE LAW GROUP, PLLC

                               BY: /s/ Adewale Odetunde
                                   ADEWALE ODETUNDE
                                   State Bar No. 24088146
                                      adewale.odetunde@witheritelaw.com
                                      SHELLY GRECO
                                      State Bar No. 24008168
                                      shellv.qrecowitheritelaw.com
                                      10440 N. Central Expressway
                                      Suite 400
                                      Dallas, TX 75231-2228
                                      214/378-6665
                                      214/378-6670 (fax)

                                      ATTORN EYS FOR PLAINTIFF




 PLAINTIFF'S ORIGINAL PETITION   —
                                     Page 8
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FORM NO. 353-3 - CITATION                                                                                                          ESERVE
THE STATE OF TEXAS
                                                                                                                                 CITATION

To:      ADAM HENSON
         107C CHESTNUT STREET                                                                                                   DC-21-03912
         MONETT MISSOURI 65708
GREETINGS:                                                                                                                       EDDIE BELL
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                           vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the                           ADAM HENSON, et al
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days                   ISSUED THIS
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be                           6th day of April, 2021
addressed to the clerk of the 68th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being EDDIE       BELL                                                                                          FELICIA PITRE
                                                                                                                             Clerk District Courts,
Filed in said Court 26th day of March, 2021 against                                                                          Dallas County, Texas

ADAM HENSON, NEW PRIME, INC. AND SUCCESS LEASING, INC.
                                                                                                                        By: DANIEL MACIAS, Deputy
For Suit, said suit being numbered DC—21-03912, the nature of which demand is as follows:
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies                                  Attorney for Plaintiff
this citation.   If this citation is not served, it shall be returned unexecuted.                                         ADEWALE ODETUNDE
                                                                                                                       WITHERITE LAW GROUP, PLLC
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                             10440 N CENTRAL EXPY
Given under my hand and the Seal of said Court at ofﬁce this 6th day of April, 2021.                                             STE 400
                                                                                                                             DALLAS TX 75231
ATTEST: FELICM PITRE,                          District Courts of Dallas, County, Texas                                          214-378-6665


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                                   DANEL MACIAs
                                                                             a   Deputy     Mﬁwﬂmg
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                                                                                                                           DALLAS COUNTY
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                                 Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                                                Page 12 of 25 PageID 20



                                                                             OFFICER'S RETURN
Case No.   :   DC-21-03912

Court No.68th District Court

Style: EDDIE     BELL
vs.

ADAM HENSON,         et     a1


Came to hand on the                             day of                       ,   20             ,   at                 o'clock         .M. Executed at

within the County of                                         at                  o'clock                 .M. on the                   day of

20                      ,   by delivering to the within named



each in person, a true copy      of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same            date   of delivery. The distance actually traveled by
me in serving such process was                   miles and my fees are as follows: To certify which witness my hand.

                                   For serving Citation           $

                                   For mileage                    $                                      of                       County,

                                   For Notary                     $                                      By                                                    Deputy

                                                                      (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                          before me this                       day of                        ,   20

to certify which witness my hand and seal        of ofﬁce.


                                                                                                         Notary Public                                        County
                          Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                       Page 13 of 25 PageID 21



FORM NO. 353-3 - CITATION                                                                                                     ESERVE
THE STATE OF TEXAS
                                                                                                                            CITATION

To:      NEW PRIME, INC.
         SERVING ITS REGISTERED AGENT INCORP SERVICES, INC.                                                                 DC-21-03912
         815 BRAZOS #500
         AUSTIN, TEXAS 78701
                                                                                                                            EDDIE BELL
GREETINGS:                                                                                                                       vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                           ADAM HENSON, et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                           ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days         6th day of April, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 68th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                           FELICIA PITRE
Said Plaintiff being EDDIE       BELL                                                                                  Clerk District Courts,
                                                                                                                       Dallas County, Texas
Filed in said Court 26th day of March, 2021 against

ADAM HENSON, NEW PRIME, INC. AND SUCCESS LEASING, INC.                                                            By: DANIEL MACIAS, Deputy

For Suit, said suit being numbered DC—21-03912, the nature of which demand is as follows:                             Attorney for Plaintiff
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies                          ADEWALE ODETUNDE
this citation.   If this citation is not served, it shall be returned unexecuted.                                WITHERITE LAW GROUP, PLLC
                                                                                                                    10440 N CENTRAL EXPY
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                              STE 400
Given under my hand and the Seal of said Court at ofﬁce this 6th day of April, 2021.                                   DALLAS TX 75231
                                                                                                                           214-378-6665
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                    adewale.odetunde@witheritelaw.com

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                                 Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                                                Page 14 of 25 PageID 22




                                                                             OFFICER'S RETURN
Case No.   :   DC-21-03912

Court No.68th District Court

Style: EDDIE     BELL
vs.

ADAM HENSON,         et     a1


Came to hand on the                             day of                       ,   20             ,   at                 o'clock         .M. Executed at

within the County of                                         at                  o'clock                 .M. on the                   day of

20                      ,   by delivering to the within named



each in person, a true copy      of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same            date   of delivery. The distance actually traveled by
me in serving such process was                                                          TABwhich
                                                 miles and my fees are as follows: To certify 1  witness my hand.

                                   For serving Citation           $

                                   For mileage                    $                                      of                       County,

                                   For Notary                     $                                      By                                                    Deputy

                                                                      (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                          before me this                       day of                        ,   20

to certify which witness my hand and seal        of ofﬁce.


                                                                                                         Notary Public                                        County
Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                               Page 15 of 25 PageID 23




                                            FELICIA PITRE
                              DALLAS COUNTY DISTRICT CLERK

                                        NINA MOUNTIQUE
                                           CHIEF DEPUTY




                               CAUSE NO. DC-21-03912



                                           EDDIE BELL

                                                   VS.

                                  ADAM HENSON, et al



                                     68th District Court




                       ENTER DEMAND FOR JURY
                            JURY FEE PAID BY: PLAINTIFF

                                         FEE PAID: $40




                 600   COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                        FAX (214)653-7781 E-mail: Felicia.Pitre@da11ascounty.org
                        Web site: http://Www.dallascouuty.org/distclerk/index.htrnl    TAB 4
                                                                                                            FILED
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                                                                                                   FELICIA PITRE
Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                    Page 16 of 25     PageID 24DISTRICT CLERK
                                                                                             DALLAS CO., TEXAS
                                                                                            Martin Reyes DEPUTY




                                  CAUSE NO.: DC-21-03912

EDDIE BELL                        §                                  IN THE DISTRICT COURT
     Plaintiff,                   §
                                  §
v.                                §                                    68th JUDICIAL DISTRICT
                                  §
ADAM HENSON; NEW PRIME, INC., AND §
SUCCESS LEADING, INC.             §
     Defendants.                  §                                 DALLAS COUNTY, TEXAS

                           DEFENDANTS’ ORIGINAL ANSWER

       COME NOW ADAM HENSON, NEW PRIME, INC. and SUCCESS LEASING, INC.

(“Defendants”) and files this Original Answer to Plaintiff’s Original Petition in the above-styled

and numbered case, and would respectfully show unto the Court the following:

                                     GENERAL DENIAL

1.     As is authorized by Rule 92 of the Texas Rules of Civil Procedure, Defendants deny each

and every, all and singular, the allegations contained in Plaintiff’s Original Petition and demands

strict proof thereof by a preponderance of the credible evidence.

                                 AFFIRMATIVE DEFENSES

2.     Defendants plead they are entitled to submission and consideration of Plaintiff’s recovery

of medical or health expenses incurred, and that said damages awarded by the jury should be

limited to the amount actually paid or incurred by on behalf of Plaintiff in accordance with

C.P.R.C. Section 41.0105 [Evidence Relating to Amount of Economic Damages].

3.     Defendants affirmatively plead that Plaintiff’s recovery of alleged damages are barred to

the extent they were caused or contributed to by Plaintiff’s failure to make reasonable efforts to

mitigate the same.




DEFENDANTS’ ORIGINAL ANSWER - Page 1
                                                                              TAB 5
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4.      Defendants further assert application of Texas Civil Practice & Remedies Code Section

18.091, requiring evidence related to loss of earnings, loss of earning capacity, and loss

contribution of a pecuniary value, or loss of inheritance, to be presented in the form of a net loss

after reduction for income tax payments or unpaid tax liability pursuant to any federal income tax

law. Defendants further request that the Court instruct the jury as to whether any recovery for

compensatory damages sought by the Plaintiff is subject to federal or state income taxes.

5.      Defendants asserts their rights and remedies pursuant to Chapter 41 of the TEX. CIV. PRAC.

& REM. CODE and the applicable limitation on the amount of exemplary or punitive damages

awarded to Plaintiff, if at all, by the jury in this matter. In addition, but not limited by, Defendants

would further assert that all claims for punitive damages be established by culpable acts or

omissions and proximate causation as provided in Section 41.003 and 41.001; found unanimously

by the jury as to liability and the amount of punitive damages pursuant to 41.003(d); be limited on

recovery and prejudgment interest as addressed in 41.007.

6.      Further, Defendant asserts that an award of exemplary damages would be improper because

it would be grossly excessive or arbitrary and would violate the Defendant’s right of due process

as set forth in the Fourteenth Amendment of the U.S. Constitution and Texas Constitution Article

I, Section 19.

7.      Pleading further, Defendant asserts that an award of exemplary damages would be

improper because: (1) any such award would be too great when compared with the degree of

reprehensibility of Defendant’s alleged misconduct; (2) the disparity between any such award and

the harm allegedly suffered by Plaintiff would be too great; and (3) the difference between any

such award and any civil penalties, whether authorized or imposed, would be too great.




DEFENDANTS’ ORIGINAL ANSWER - Page 2
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8.     Defendants plead further that an award of exemplary damages would be improper because

it would be a windfall that exceeds Plaintiff’s right to a remedy for Plaintiff’s injury by due course

of law, as set forth in Texas Constitution Article I, Section 13.

9.     Additionally, an award of exemplary damages would be improper because it would be

wholly or partly compensatory and would constitute a double recovery by Plaintiff for the same

alleged damages.

10.    An award of exemplary damages would be improper because it would violate the

proscription against excessive fines in the Eighth Amendment of the U.S. Constitution and Texas

Constitution Article I, Section 13.

11.    An award of exemplary damages would be improper if based upon the “preponderance of

evidence” standard of proof. Due process requires that exemplary damages be proved beyond a

reasonable doubt, or in the alternative, by clear and convincing evidence. TEX. CIV. PRAC. & REM.

CODE ANN. § 41.003.

12.    An award of exemplary damages would be improper without procedural safeguards greater

than those afforded by the Texas Rules of Civil Procedure and the Texas Civil Practice and

Remedies Code because exemplary damages are quasi-criminal in nature, and Defendants are

entitled to all those protections and safeguards guaranteed by the Fifth, Eighth and Fourteenth

Amendments of the U.S. Constitution.

13.    Defendants would show that Texas law places a limitation or “cap” on the exemplary

damages or statutory damages which Plaintiff seeks. Plaintiff’s claims for punitive damages are

limited to: (1)(a) two times the amount of economic damages, plus (b) an amount equal to any

non-economic damages, not to exceed $750,000; or (2) $200,000, whichever is greater. TEX. CIV.

PRAC. & REM. CODE ANN. § 41.008(b).




DEFENDANTS’ ORIGINAL ANSWER - Page 3
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14.    Defendants would also show this Court that even if Plaintiff is entitled to an award of

exemplary damages, which Defendants deny, any such award must be limited to a single-digit

multiplier of actual or compensatory damages in order to comport with the requirements of the

Fifth, Eighth, and Fourteenth Amendments of the U.S. Constitution, and Texas Constitution

Article I, Sections 3, 13 and 19.

15.    An award of exemplary damages in excess of a fraction of Defendant’s net worth would

be improper because it would violate Defendant’s right of due process as set forth in the Fourteenth

Amendment of the U.S. Constitution and Texas Constitution Article I, Section 19, the Eighth

Amendment of the U.S. Constitution and Texas Constitution Article I, Section 19, and Chapter 41

of the TEX. CIV. PRAC. & REM. CODE.

16.    Defendants plead that Plaintiff’s own acts and/or omissions contributed to the incident and

Plaintiff’s injuries, if any. Defendants, therefore, invoke the doctrine of contributory negligence

and proportionate responsibility.

                       INTENT TO USE PLAINTIFF’S DOCUMENTS

17.    In accordance with TEX. RULES OF CIV. PROC. 193.7, Defendants notify Plaintiff that any

and all documents produced to Defendants by Plaintiff in response to written discovery requests

may be used at any pretrial proceeding, as well as entered into evidence at the final trial of this

cause, and are considered authenticated as to producing parties by the fact of production itself.

                                    DEMAND FOR JURY TRIAL

18.      Defendants asserts their right to a trial by jury under Texas Constitution Article 1, section

15, and makes this demand for a jury trial at least 30 days before the date this case is set for trial,

in accordance with TEX. RULES OF CIV. PROC. 216.




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                                              PRAYER

       WHEREFORE, Defendants pray for a take nothing judgment, for all costs and for such

other and further relief, general or special, at law or in equity, to which Defendants may be entitled.

                                       Respectfully Submitted,

                                       GAUNTT, KOEN, BINNEY & KIDD, L.L.P.

                                              /s/ Robert J. Collins
                                       KARL W. KOEN
                                       State Bar No.: 11652275
                                       Karl.Koen@gkbklaw.com

                                       ROBERT J. COLLINS
                                       State Bar No.: 24031970
                                       Robert.Collins@gkbklaw.com

                                       14643 Dallas Pkwy., Suite 500
                                       Dallas, Texas 75254
                                       (972) 630-4620
                                       (972) 630-4669 - Fax

                                       ATTORNEYS FOR DEFENDANTS



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was forwarded to

all of record pursuant to the Texas Rules of Civil Procedure, as indicated below, on this the 6th

day of May, 2021.

Via ProDoc
Mr. Adewale Odetunde
Ms. Shelly Greco
Witherite Law Group, PLLC
10440 N. Central Expressway Suite 400
Dallas, Texas 75231-2228
                                                   /s/ Robert J. Collins
                                               ROBERT J. COLLINS




DEFENDANTS’ ORIGINAL ANSWER - Page 5
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Robert Collins on behalf of Robert Collins
Bar No. 24031970
Robert.collins@gkbwklaw.com
Envelope ID: 53186584
Status as of 5/7/2021 9:41 AM CST

Case Contacts

Name                 BarNumber   Email                             TimestampSubmitted Status

ADEWALE ODETUNDE                 adewale.odetunde@witheritelaw.com 5/6/2021 1:26:48 PM   SENT

Robert Collins                   Robert.Collins@gkbklaw.com        5/6/2021 1:26:48 PM   SENT

Karen Morris                     Karen.Morris@gkbklaw.com          5/6/2021 1:26:48 PM   SENT

Karl Koen                        karl.koen@gkbklaw.com             5/6/2021 1:26:48 PM   SENT

Melissa Shaffer                  Melissa.Shaffer@gkbklaw.com       5/6/2021 1:26:48 PM   SENT
5/12/2021                                                                  Details
             Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                        Page 22 of 25 PageID 30




            Case Information

            DC-21-03912 | EDDIE BELL vs. ADAM HENSON, et al

            Case Number                             Court                             Judicial Officer
            DC-21-03912                             68th District Court               HOFFMAN, MARTIN
            File Date                               Case Type                         Case Status
            03/26/2021                              MOTOR VEHICLE ACCIDENT            OPEN




            Party

            PLAINTIFF                                                                 Active Attorneys 
            BELL, EDDIE                                                               Lead Attorney
            Address                                                                   ODETUNDE, ADEWALE
            C/O WITHERITE LAW GROUP, PLLC                                             Retained
            10440 N. CENTRAL EXPRESSWAY, SUITE 400
            DALLAS TX 75231
                                                                                      Attorney
                                                                                      GRECO, SHELLY
                                                                                      Retained




            DEFENDANT                                                                 Active Attorneys 
            HENSON, ADAM                                                              Lead Attorney
                                                                                      COLLINS, ROBERT
            Address
            107C CHESTNUT STREET                                                      Retained
            MONETT MO 65708




            DEFENDANT                                                                 Active Attorneys 
            NEW PRIME, INC.                                                           Lead Attorney
            Address                                                                   COLLINS, ROBERT
                                                                                      Retained
            BY SERVING ITS REGISTERED AGENT INCORP SERVICES INC
            815 BRAZOS, #500
            AUSTIN TX 78701                                                            TAB 6

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                       1/4
5/12/2021                                                                  Details
             Case 3:21-cv-01070-G Document 1-3 Filed 05/12/21                        Page 23 of 25 PageID 31


            DEFENDANT                                                                 Active Attorneys 
            SUCCESS LEASING, INC.                                                     Lead Attorney
                                                                                      COLLINS, ROBERT
            Address
            BY SERVING ITS REGISTERED AGENT STEVE CRAWFORD                            Retained
            2740 NORTH MAYFAIR AVENUE
            SPRINGFIELD MO 65803




            Events and Hearings


               03/26/2021 NEW CASE FILED (OCA) - CIVIL


               03/26/2021 ORIGINAL PETITION 


               PLAINTIFF'S ORIGINAL PETITION


               03/26/2021 ISSUE CITATION 


               ISSUE CITATION - ADAM HENSON

               ISSUE CITATION - NEW PRIME, INC.


               03/26/2021 JURY DEMAND 


               FP FILE DESK JURY DEMAND FORM


               04/06/2021 CITATION 


               Unserved

               Anticipated Server
               ESERVE

               Anticipated Method
               Comment
               ADAM HENSON


               04/06/2021 CITATION 


               Unserved


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5/12/2021                                                                  Details
             Case   3:21-cv-01070-G
              Anticipated Server    Document 1-3 Filed 05/12/21                      Page 24 of 25 PageID 32
               ESERVE

               Anticipated Method
               Comment
               NEW PRIME, INC.


               04/06/2021 CITATION 


               Unserved

               Anticipated Server
               ESERVE

               Anticipated Method
               Comment
               SUCCESS LEASING, INC.


               05/06/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER




            Financial

            BELL, EDDIE
                   Total Financial Assessment                                                         $356.00
                   Total Payments and Credits                                                         $356.00


              3/29/2021     Transaction Assessment                                                   $356.00

              3/29/2021     CREDIT CARD - TEXFILE              Receipt # 18930-2021-     BELL,      ($356.00)
                            (DC)                               DCLK                      EDDIE




            Documents


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                        3/4
5/12/2021                                                                  Details
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              PLAINTIFF'S              Document 1-3 Filed 05/12/21
                          ORIGINAL PETITION                                          Page 25 of 25 PageID 33
               FP FILE DESK JURY DEMAND FORM

               ISSUE CITATION - ADAM HENSON
               ISSUE CITATION - NEW PRIME, INC.

               ORIGINAL ANSWER




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                       4/4
